







NUMBER 13-00-570-CR



COURT OF APPEALS



THIRTEENTH DISTRICT OF TEXAS



CORPUS CHRISTI


___________________________________________________________________


SANDRA RENEE HICKS,	Appellant,


v.



THE STATE OF TEXAS,	Appellee.

___________________________________________________________________


On appeal from the 105th District Court


of Nueces County, Texas.


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O P I N I O N



Before Justices Hinojosa, Yañez, and Chavez


Opinion Per Curiam



	Appellant seeks to appeal from an order imposing sanctions on
defendant and continuing or modifying community supervision.  We
dismiss the appeal for want of jurisdiction.

	In Basaldua v. State, 558 S.W.2d 2 (Tex. Crim. App. 1977), the
Court held that a defendant may not appeal from an order continuing a
defendant on probation with amended terms and conditions.  There is
neither constitutional nor statutory authority which would confer
jurisdiction on this Court to hear an appeal from an order modifying
probationary conditions.  Basaldua, 558 S.W.2d at 5.

	Accordingly, the appeal is dismissed for want of jurisdiction.

							PER CURIAM

Do not publish.

Tex. R. App. P. 47.3.

Opinion delivered and filed this

the 28th day of September, 2000.


